


















               



In The

Court of Appeals

For The

First District of Texas

____________


NO. 01-07-00131-CR

____________


GARY DEAN HOLLAND, Appellant


V.


THE STATE OF TEXAS, Appellee






On Appeal from the 209th District Court 

Harris County, Texas

Trial Court Cause No. 1092410






MEMORANDUM  OPINION

	Appellant pleaded guilty to the offense of burglary of a habitation with intent
to commit assault and, in accordance with the plea bargain agreement, the trial court
sentenced appellant to confinement for two years.  Appellant filed a timely pro se
notice of appeal.  We dismiss for lack of jurisdiction.

	In a plea-bargained case in which the punishment assessed does not exceed the
plea agreement, a defendant may appeal only those matters that were raised by written
motion filed and ruled on before trial, or after obtaining the trial court's permission
to appeal.  Griffin v. State, 145 S.W.3d 645, 648-49 (Tex. Crim. App. 2004); Cooper
v. State, 45 S.W.3d 77, 80 (Tex. Crim. App. 2001); Tex. R. App. P. 25.2(a)(2).

	The trial court's certification of appellant's right to appeal in this case states
that this is a plea-bargained case and appellant has no right to appeal.  The record
supports the correctness of the certification.  Dears v. State, 154 S.W.3d 610, 614-15
(Tex.  Crim. App. 2005).  We must dismiss an appeal if the trial court's certification
shows there is no right to appeal.  See Tex. R. App. P. 25.2(d).

	Accordingly, we dismiss the appeal for lack of jurisdiction.

	Any pending motions are denied as moot.

PER CURIAM


Panel consists of Justices Nuchia, Hanks, and Bland.

Do not publish.   

Tex. R. App. P. 47.2(b).


